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                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF DELAWARE


IN RE:                              :
                                    :
TK HOLDINGS, INC., et al.,          :             Bankruptcy Case No. 17-113755-BLS
                                    :
            Debtors.                :
                                    :
                                    :
TOMMY R. JACKSON,                   :
                                    :
            Appellant,              :
                                    :
      v.                            :             Civil Action No. 23-912-RGA
                                    :
TK HOLDINGS, INC.,                  :
                                    :
            Appellee.               :
____________________________________:
                                    :


                                         ORDER



              WHEREAS, Appellant has file a request for and extension of time to file his

Opening Brief (D.I. 15);

              NOW THEREFORE, IT IS HEREBY ORDERED that, the request for an

extension of time (D.I. 15) is GRANTED. Appellant shall file his Opening Brief by

January 12, 2024.




                                      /s/ Richard G. Andrews
December 12, 2023
   DATE                             UNITED STATES DISTRICT JUDGE
